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                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
SERGIO BONILLA, JOHN BRAUNDMEIER,
and KEVIN WALLACE, on behalf of
themselves and all others similarly situated, Case No: 1:20-cv-07390

                               Plaintiffs,        Hon. Virginia M. Kendall

v.

ANCESTRY.COM OPERATIONS INC., a            JURY TRIAL DEMANDED
Virginia Corporation; ANCESTRY.COM INC.,
a Delaware Corporation; ANCESTRY.COM
LLC, a Delaware Limited Liability Company;
and DOES 1 through 50, inclusive,
                               Defendants.


               SECOND AMENDED CLASS ACTION COMPLAINT
       FOR VIOLATION OF 765 ILCS 1075/1 et seq. AND UNJUST ENRICHMENT

        Plaintiffs SERGIO BONILLA, JOHN BRAUNDMEIER, and KEVIN WALLACE, by

and through their attorneys, make the following allegations on information and belief, except as

to factual allegations pertaining to Plaintiffs, which are based on personal knowledge, and

allegations pertaining to Ancestry’s use of Mr. Braundmeier’s and Mr. Wallace’s childhood

photographs on the website ancestry.com, which are based on information Ancestry’s counsel

provided to Plaintiffs’ counsel.

                                        INTRODUCTION

        1.     Plaintiffs bring this class action complaint against ANCESTRY.COM

OPERATIONS INC.; ANCESTRY.COM INC; ANCESTRY.COM LLC; and DOES 1-50

(collectively, “Ancestry”) for knowingly misappropriating the photographs, likenesses, names,

and identities of Plaintiffs and the class; knowingly using those photographs, likenesses, names,
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and identities for the commercial purpose of selling access to them in Ancestry products and

services; and knowingly using those photographs, likenesses, names, and identities to advertise,

sell, and solicit purchases of Ancestry services and products; without obtaining prior consent from

Plaintiffs and the class.

        2.      Ancestry’s business model relies on amassing huge databases of personal

information, including names, photographs, addresses, places of birth, estimated ages, schools

attended, and other biological information, then selling access to that information for subscription

fees. Ancestry’s databases comprise billions of records belonging to hundreds of millions of

Americans. The main subject of this lawsuit is Ancestry’s “U.S., School Yearbooks, 1900-1999”

database (“Ancestry Yearbook Database”). The Ancestry Yearbook Database includes the names,

photographs, cities of residence, and schools attended of many millions of Americans. According

to the Ancestry website, the Ancestry Yearbook Database includes over 47 million individual

records from Illinois schools and universities.

        3.      Ancestry acquired most of the photographs in its Yearbook Database by paying

licensing fees to PeopleConnect, Inc, which owns and operates the website www.classmates.com.

        4.      Ancestry has not received consent from, given notice to, or provided compensation

to the millions of Illinoisans whose names, photographs, biographical information, and identities

appear in its Ancestry Yearbook Database.

        5.      The names, photographs, cities of residence, schools attended, estimated ages,

likenesses, and identities contained in the Ancestry Yearbook Database uniquely identify specific

individuals.

        6.      Ancestry uses the names, photographs, cities of residence, schools attended,

estimated ages, likenesses, and identities in its Ancestry Yearbook Database on and in its products



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and services. Ancestry sells access to those records to paying subscribers. In exchange for

subscription payments ranging from $24.99 to $49.99 per month, depending on the plan, Ancestry

subscribers receive the ability to search, view, and download records in Ancestry databases,

including the names, photographs, cities of residence, schools attended, estimated ages, likenesses,

and identities Ancestry has amassed in its Ancestry Yearbook Database without consent.

       7.      Ancestry uses the names, photographs, cities of residence, schools attended,

estimated ages, likenesses, and identities in its Ancestry Yearbook Database to advertise and

promote its monthly subscription products and services, including its “U.S. Discovery,” “World

Explorer,” and “All Access” subscription plans.

       8.      Ancestry advertises and promotes its products and services to new subscribers by

offering a 14-day promotional “free trial” that provides temporary access to search, view, and

download records from Ancestry’s databases. Users who sign up for the promotional “free trial”

provide payment information but are not billed until the promotional “free trial” expires and may

cancel before the trial expires without charge. During the promotional “free trial,” users are

encouraged to search Ancestry Databases, including its Yearbook Database, for the names of any

people they may know or be curious about. In response to searches of the Ancestry Yearbook

Database, users receive a list records, each of which corresponds to a specific identifiable person,

and includes the individual’s name, yearbook photo, estimated age, city of residence, school

attended, and year of attendance. “Free trial” users may view and download full-resolution

versions of yearbook photos of the individuals they have searched.

       9.      The sole purpose of offering the promotional “free trial” is to induce users to

subscribe to its paid product and service. By providing access to and encouraging use of its

Ancestry Yearbook Database as part of its promotional “free trial,” Ancestry is using the identities



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of Plaintiffs and the class for the commercial purpose of advertising and promoting the purchase

of its subscription products and services.

       10.     Ancestry also advertises and promotes its monthly subscription products and

services by providing a promotional limited-access version of its website. Any visitor to the

Ancestry website may access the promotional limited-access version, even if they have not

provided contact information or signed up for the promotional “free trial.” Users on the

promotional limited-access version are encouraged to search Ancestry Databases, including its

Yearbook Database, for the names of any people they may know or be curious about. In response

to searches of the Ancestry Yearbook Database, users receive a list records, each of which

corresponds to a specific identifiable person, and includes the individual’s name, city of residence,

and a low-resolution version of a yearbook photo. Users of the promotional limited-access version

of the website may view the low-resolution photo, allowing them to confirm the record

corresponds to the person they are searching for. Users cannot view the full-resolution version of

the photograph or view additional information about the person such as estimated age, name of

school, and yearbook year. If users click to view this information, they are encouraged to “sign up

now” for a paid subscription.

       11.     The sole purpose of offering the promotional limited-access version of the website

is to induce users to subscribe to its paid product and service. By providing access to and

encouraging use of its Ancestry Yearbook Database as part of its promotional limited-access

website for non-subscribers, Ancestry is using the identities of Plaintiffs and the class to advertise

and promote its subscription products and services.

       12.     Ancestry also advertises by sending promotional emails to users who have signed

up for a free account but have not yet signed up for a paid subscription. Some of those promotional



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emails contain “hints” corresponding to yearbook records of people Ancestry believes the recipient

may be related to. The “hint” emails display the full name and estimated birth year of the individual.

Clicking on either the individual’s name or on the button labelled “See your hint” brings the

recipient directly to a web page soliciting a six-month subscription to Ancestry.com for $99.00. If

the recipient agrees to pay Ancestry, they may view the record corresponding to the name and

likeness Ancestry sent in the “hint” email, including the individual’s photograph. Ancestry

appropriated and continues to grow its massive databases of personal information, including its

Ancestry Yearbook Database, which contains the names, photographs, cities of residence, schools

attended, estimated ages, likenesses, and identities of millions of Illinoisans. Ancestry uses these

records both as the core element of its products and services, and to sell and advertise its products

and services, without providing any notice to the human beings who are its subjects. Ancestry did

not ask the consent of the people whose personal information and photographs it profits from. Nor

has it offered them any compensation for the ongoing use of their names, photographs, likenesses,

and identities as part of its products and services, and to sell and advertise its products and services.

        13.     Through its actions, Ancestry has harmed and continues to harm Plaintiffs and the

class by denying them the economic value of their likenesses, violating their legally protected

rights to the exclusive use of their likenesses, and violating their right to seclusion. Ancestry has

also earned ill-gotten profits and been unjustly enriched.

        14.     These practices, as further detailed in this complaint, violate the Illinois right to

publicity as codified in 765 ILCS 1075/1 et seq.; and Illinois common law protecting against

Unjust Enrichment.




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                                JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d) (the

Class Action Fairness Act (“CAFA”)), because: (A) all members of the putative class are citizens

of a state different from any defendant. According to available public records, Defendants are all

incorporated in either Delaware or Virginia, and are headquartered in Utah. The class members

are residents of Illinois. (B) The proposed class consists of at least 100 members. Ancestry

advertises that its Ancestry Yearbook Database comprises about 730 million individual records

collected from “more than 450,000 yearbooks and more than 62 million pages.” A search of the

database for records located in “Illinois, USA” returns more than 47 million individual records.

Even accounting for the fact that some individuals may appear in multiple records, that some are

deceased or no longer live in Illinois while others have moved into the state, and that the class

excludes current Ancestry subscribers, the class likely comprises millions of Illinoisans. And (C)

the amount in controversy exceeds $5,000,000 exclusive of interest and costs. 765 ILCS 1075/1 et

seq. provides for damages equal to the greater of $1,000 per violation or the actual damages

suffered by Plaintiffs, plus exemplary and/or punitive damages in the case of knowing use without

consent. Given more than 47 million individual records in Illinois, the amount in controversy is

well over the jurisdictional amount.

       16.     This Court has personal jurisdiction over the claims of Plaintiffs and the non-named

class members. Ancestry maintains substantial connections to the state of Illinois, and those

connections are closely entwined with the wrongdoing in this case.

       17.     Ancestry regularly collects records from the state of Illinois, often by sending staff

or hired representatives to various locations in Illinois where the physical records are maintained.




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Ancestry staff or hired representatives then scan and digitize the records on-site. 1 Records

collected by Ancestry include Illinois yearbooks, Illinois marriage records, Illinois birth records,

Illinois census returns, and Illinois voter lists. Ancestry has already amassed tens of millions of

records concerning Illinois residents and is continually adding more to its database.

       18.      With respect to the yearbooks at the center of this lawsuit, to date Ancestry has

acquired forty-seven million individual records from yearbooks at Illinois high schools and

Universities.

       19.      Ancestry acquired most of the photographs in its Yearbook database by paying

licensing fees to PeopleConnect, Inc., in exchange for digitized yearbook photographs and the

right to make use of those photographs in promoting Ancestry.com subscriptions. Upon

information and belief, the terms of Ancestry’s agreement with PeopleConnect, Inc. include the

grant of a license that purports to give Ancestry the right to make commercial use of Plaintiffs’

and class members’ photographs (1) in its products; (2) to promote its products by offering

searchable free trial access to the photographs; and (3) to promote its products by including the

photographs in “hint” emails.

       20.      Upon information and belief, Ancestry has sent staff or hired representatives to the

state of Illinois to copy and digitize yearbooks on-site at Illinois libraries, local government




1
  See https://www.buzzfeednews.com/article/katienotopoulos/ancestry-com-reclaim-the-records-
new-york-lawsuit (explaining that “a representative from Ancestry will reach out to a local
government archive or historical society and offer to take on the costs, labor and machinery needed
to scan and digitized their records” in exchange for “the [exclusive] right to put the images on their
website”).
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archives, and historical societies. Ancestry has also accepted yearbook donations shipped to

Ancestry by Illinois residents.

       21.     Ancestry took intellectual property it knew belonged to Illinois residents. By

obtaining and copying yearbooks from schools across the country, including thousands of Illinois

schools, Ancestry willfully misappropriated the publicity rights belonging to millions of Illinois

residents. Ancestry cannot credibly claim to be ignorant that that many of the names and likenesses

in its database belonged to Illinois residents.

       22.     Ancestry regularly advertises specifically to Illinois residents, in addition to its

advertisements directed countrywide. Although Plaintiffs do not know all advertisements Ancestry

has directed to Illinois and believes discovery will reveal more, the investigation to date has

revealed the following:




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       23.    Newspaper Advertisements in Local Illinois Newspapers. Ancestry has advertised

its subscription product, which is the subject of this lawsuit, in many Illinois newspapers of

exclusively local circulation. Examples include the following full-page spread published in the

Decatur Herald and Review on July 4, 2010:




… and the following advertisement published in the Chicago Tribune on March 9, 2012:




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        24.     Partnerships with Illinois Libraries and Civic Centers. Ancestry regularly promotes

its subscription product by offering limited free access to Illinois residents at Illinois libraries. For

example, Ancestry is now offering a limited version of its product for free at the Romeoville branch

of the White Oak Library District in Romeoville, Illinois, and at the Moline Public Library. 2

Ancestry also sponsors educational sessions and seminars about Ancestry.com and genealogical

research at Illinois libraries and civic centers. For example, the Glenview Public Library hosted an

“Introduction to Ancestry.com” on March 25, 2021, and Ancestry sponsored a family history

writing seminar at a civic center in Davenport, Illinois in March 2012.3

        25.     Video Advertisement About an Ancestry User from Chicago. As part of a

promotional campaign highlighting user experiences, Ancestry produced and distributed a video

highlighting the story of a Chicago woman who used Ancestry.com to connect with her cousin and

open a restaurant in the Hyde Park neighborhood of Chicago. The video clearly displays a census

record from Chicago, Illinois.4 On their website, Ancestry describes the subject of the video as a

“caterer . . . (Chicago)” who is “opening up a soul food restaurant in Chicago’s Hyde Park.”5

        26.     Ancestry misappropriated the class members’ names and likenesses for the express

purpose of advertising and selling Ancestry.com subscriptions to their relatives, who Ancestry new




2
  https://patch.com/illinois/romeoville/library-members-can-now-have-virtual-access-ancestry;
https://www.molinelibrary.com/386/Ancestrycom-Library-Edition
3
  https://www.chicagotribune.com/entertainment/things-to-do/ct-things-to-do-in-chicago-
htmlstory.html?_escaped_fragment_=/show/?start=2019-10-23#!/details/Introduction-to-
Ancestry-com/8851738/2021-03-25T19; https://www.newspapers.com/image/436365907
4
  https://www.ancestry.com/corporate/blog/ancestrycom-launches-my-story-advertising-
campaign
5
  https://www.ancestry.com/corporate/blog/ancestrycom-launches-my-story-advertising-
campaign
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were likely to be Illinois residents. Ancestry.com encourages visitors to use the Ancestry Yearbook

Database to “[f]ind out what your relatives were really like in high school and college.” And

Ancestry’s statements to investors highlight the advertising value of features like “record hinting,”

an Ancestry advertising technique that entices non-paying users to become paying subscribers by

promising access to records about family members.6 By its own description, Ancestry’s purpose

for acquiring class members’ names and photographs is to maximize the chance their relatives will

buy Ancestry.com subscriptions.

        27.    Ancestry knows, or should have known, that the relatives of people who went to

school in Illinois are likely to themselves be Illinois residents, as are the relatives of people who

went to school in states near Illinois. Research by the Pew Research Center shows that more than

40% of adults in the U.S. live “in or near the community where they grew up.”7

        28.    Ancestry’s efforts to sell its product to Illinois residents have been successful.

Ancestry reports over three million paying subscribers. Upon information and belief, tens if not

hundreds of thousands of those subscribers are Illinois residents.

        29.    Venue is appropriate pursuant to 28 U.S.C. § 1391(b). A substantial portion of the

events and conduct giving rise to the violations alleged in this complaint occurred in this district.




6
  See Form 10-Q filed June 30, 2016 by Ancestry.com LLC (“Our conversion marketing efforts are
focused on converting registered users to paying subscribers through on-site messaging, email, targeted
offers and compelling product features like record hinting.”). Available at
https://www.sec.gov/Archives/edgar/data/1575319/000157531916000041/ acom2016063010-
q.htm#s77FC53301E940CD0A1BDD6FC46C1ABAC.
7
  “Key Findings about American life in urban, suburban and rural areas”, Kristen Bialik, May 22,
2018, at https://www.pewresearch.org/fact-tank/2018/05/22/key-findings-about-american-life-in-
urban-suburban-and-rural-areas/.
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A substantial portion of the class members reside in this state and district. Named Plaintiff Sergio

Bonilla resides in this district.

                                    INTRADISTRICT VENUE

        30.     Venue in this Division of the District is proper because a substantial part of the

events or omissions which give rise to the claim occurred in this division. Plaintiff Sergio Bonilla

resides in Lake County.

                                            PARTIES

Defendant Ancestry

        31.     Defendant ANCESTRY.COM OPERATIONS INC. is a Virginia corporation with

its headquarters in Lehi, Utah. It conducts business under the brand names “Ancestry.com,”

“Ancestry,” and other brand names associated with the various website and services it owns and

operates. Ancestry conducts business throughout this District, Illinois, and the United States.

Ancestry owns and operates the website Ancestry.com.

        32.     Defendant ANCESTRY.COM INC. is a Delaware corporation with its

headquarters in Lehi, Utah. Defendant ANCESTRY.COM LLC is a Delaware limited liability

company with its headquarters in Lehi, Utah.

        33.     There are many related corporate entities associated with the Ancestry.com website.

Plaintiffs are ignorant of which additional related corporate entities were involved in the

wrongdoing alleged herein. Plaintiffs therefore sue these Doe Defendants by fictitious names.

Plaintiffs will amend this Complaint to allege the true names and capacities of these fictitiously

named Doe Defendants when they are ascertained. Each of the fictitiously named Doe Defendants

is responsible for the conduct alleged in this Complaint and Plaintiffs’ damages were actually and

proximately caused by the conduct of the fictitiously named Doe Defendants.



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Plaintiff Sergio Bonilla

       34.     Plaintiff Sergio Bonilla is a resident of Great Lakes, Illinois. Mr. Bonilla is not a

subscriber of any Ancestry.com products or services and is not subject to any Terms of Service or

any other agreement with Ancestry.com.

       35.     Sergio Bonilla has not provided consent to Ancestry, written or otherwise, for the

use of his name, photograph, or likeness.

       36.     Ancestry has never notified, requested consent, or provided compensation to Sergio

Bonilla for its appropriation of his identity, photograph, image, and likeness. Mr. Bonilla first

became aware that his personal information and photographs are being used by Ancestry through

the investigation of this lawsuit.

       37.     Ancestry has and continues to use Sergio Bonilla’s identity, including his name,

photograph, image, and likeness, for a commercial purpose by selling access to his identity in its

products, including its “U.S. Discovery,” “World Explorer,” and “All Access” paid subscription

plans. Subscribers who pay monthly subscriptions fees of between $24.99 and $49.99 per month,

depending on the plan, receive in exchange the ability to search for, view, and download records

in Ancestry’s Yearbook Database. This database includes a record corresponding to Mr. Bonilla

from a 1995 yearbook from Central High School in Omaha, Nebraska, where Mr. Bonilla attended

school. Paying subscribers may search for Mr. Bonilla and view and download the record, which

contains his identity, name, photograph, image, and likeness.

       38.     There is no indication in the Central High School yearbook that the authors intended

the content to be published or otherwise distributed online. Upon information and belief, Ancestry

has not attempted to contact the authors of either yearbook, nor has Ancestry received any

indication the authors intended the content to be published or otherwise distributed online.



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       39.     Upon information and belief, Ancestry does not hold copyright in the Central High

School yearbook, nor has it made any attempt to identify the copyright holders and obtain

copyright.

       40.     Ancestry has and continues to use Mr. Bonilla’s identity, including his name,

photograph, image, and likeness, for the commercial purpose of advertising and promoting the

purchase of its subscription services and products, including its “U.S. Discovery,” “World

Explorer,” and “All Access” paid subscription plans, by using Mr. Bonilla’s identity in its 14-day

promotional “free trial.” Users of the promotional “free trial” may search for, download, and view

records in Ancestry’s Yearbook Database. “Free trial” users receive access to the same record

corresponding to Mr. Bonilla that is available to paying users. Ancestry’s sole purpose in using

Mr. Bonilla’s name, photograph, and likeness in the promotional “free trial” version of its website

is to advertise, sell, and solicit the purchase of paid subscription plans.




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       41.     A screenshot showing the results of a search for Sergio Bonilla’s name on

Ancestry.com is shown below, followed by two screenshots showing the more detailed versions

of the record that are delivered if the user clicks the “View Record” and “View” links visible on

the page. These pages are accessible both to paying subscribers and to users of Ancestry’s

promotional 14-day “free trial.” Plaintiff’s counsel used photo-editing software to blur Mr.

Bonilla’s face and the names and faces of the four other boys who appear next to Mr. Bonilla. In

the original record Ancestry created and is currently using, Mr. Bonilla’s face is plainly visible, as

are the faces of the four other boys in the photograph, all of whom are aged between 9 and 12 years

old at the time of the photograph.




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       42.     The record corresponding to Sergio Bonilla uniquely identifies Sergio Bonilla. It

plainly and conspicuously displays Mr. Bonilla’s name, image, photograph, estimated age, school,

city of residence, and the date of the yearbook in which the photo appears. Mr. Bonilla’s face is

plainly visible. The record identifies his participation in the Boy’s Swim Team.

       43.     Ancestry has and continues to use Mr. Bonilla’s identity, including his name,

photograph, image, and likeness, for the commercial purpose of advertising, selling, and soliciting

the purchase of its subscription services and products, including its “U.S. Discovery,” “World

Explorer,” and “All Access” paid subscription plans, by using Mr. Bonilla’s identity in the

promotional limited-access version of its website. Any visitor to the Ancestry website may access

the promotional limited-access version, even if they have not provided contact information or

signed up for the promotional “free trial.” Users of the promotional limited-access version of the

website may search for records in Ancestry’s Yearbook and may view a limited portion of the

information in those records, including the name, city of residence, and a low-resolution version

of the photograph corresponding to each record. Users of the promotional limited-access version

of the Ancestry website receive access to a limited version of same record corresponding to Mr.

Bonilla that is available to paying users.

       44.     Ancestry’s sole purpose in using Sergio Bonilla’s identity, including his name,

photograph, image, and likeness, in the promotional limited-access version of its website is to

advertise, sell, and solicit the purchase of paid subscription plans. Users who search for Sergio

Bonilla’s name are shown a limited version of the record corresponding to Mr. Bonilla, which

includes Mr. Bonilla’s name, city of residence, and a low-resolution version of Mr. Bonilla’s

photograph. Users who hover over the “View Record” link corresponding to the record receive a



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promotional pop-up advertisement from Ancestry displaying Mr. Bonilla’s name, a low-resolution

version of his photograph, and a message indicating “There’s more to see” and promising the user

access to Mr. Bonilla’s estimated age, birth year, school, yearbook date, school location, and a

full-resolution of Mr. Bonilla’s photograph if they “Sign Up Now” for a paid subscription.

       45.    A screenshot showing the results of a search for Sergio Bonilla’s name on the

promotional limited-access version of the Ancestry website is shown below, followed by a

screenshot showing the promotional pop-up advertisement Ancestry delivers to users who hover

over the “View Record” link corresponding to the record.




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       46.     As one of its advertising techniques, Ancestry regularly sends promotional emails

to users who have signed up for a free account with Ancestry but have not yet become paying

users. Some of those promotional emails contain “hints” corresponding to yearbook records of

people Ancestry believes the recipient may be related to. The “hint” emails display the full name

and estimated birth year of the individual. Clicking on either the individual’s name or on the button

labelled “See your hint” brings the recipient directly to a web page soliciting a six-month

subscription to Ancestry.com for $99.00.




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       47.     Because Ancestry.com extracted his yearbook photographs without permission, Mr.

Bonilla’s name and likeness is now part of the database from which Ancestry populates the “hint”

emails it sends soliciting payment for Ancestry.com services. The screenshot below illustrates the

use of a name and likeness in a “hint” email Ancestry.com sent to a non-paying Ancestry account

Plaintiffs’ counsel established as part of their investigation.




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       48.     After clicking on the name “Geoffrey Abraham” or the “See your hint” button, the

recipient is brought to the following webpage soliciting a six-month subscription to Ancestry.com

for $99.00:




       49.     Ancestry has sent and continues to send many thousands of such “hint” emails

populated with the names and likenesses of Illinois residents who are members of the class.

       50.     Mr. Bonilla has a property interest in his likeness recognized by Illinois statutory

law. He has the “right to control and to choose whether how to use [their] identity for commercial

purposes.” 765 ILCS 1075/10. The right is not limited to celebrities, nor is it restricted to those

who have developed the commercial value of their likenesses. By using his likeness for profit

without permission, Ancestry violated Mr. Bonilla’s property interest and denied him the right to




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control guaranteed under Illinois law. The violation of these property rights is a recognized form

of injury.

        51.    By using class members’ likenesses for profit without their permission, Ancestry

created a right for Mr. Bonilla in the unjust profit Ancestry has earned from their likeness. Illinois

statutory law recognizes an individual’s right to “profits derived from the unauthorized use.” 765

ILCS 1075/40. By using Mr. Bonilla’s likenesses for profit without his permission, Ancestry

created his right to the “profits [Ancestry has] derived” from its use of his likeness. Ancestry does

Mr. Bonilla continuing injury ever day it denies him the profits it has unjustly derived from his

likeness.

        52.    Ancestry has also injured Mr. Bonilla by violating his privacy rights protected by

statute and common law. The violation of such a right is itself injury, and creates an entitlement to

injunctive relief, nominal damages, and statutory damages.

Plaintiff Joshua Braundmeier

        53.    Plaintiff Joshua Braundmeier is a resident of Springfield, Illinois. Mr. Braundmeier

is not a subscriber of any Ancestry products or services. Mr. Braundmeier is not subject to any

Terms of Service or other agreement with Ancestry. After Plaintiffs’ counsel shared Mr.

Braundmeier’s name and email addresses with Ancestry’s counsel, Ancestry’s counsel confirmed

that Ancestry was “unable to locate any accounts registered under [his] name[].” Ex. 1.

        54.    Mr. Braundmeier has never provided consent to Ancestry, written or otherwise, for

its use of his name, photograph, and identity.

        55.    Ancestry has never notified, requested consent from, or provided compensation to

Mr. Braundmeier for its appropriation of his name, photograph, and identity.




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        56.     There is no agreement to arbitrate between Mr. Braundmeier and Ancestry. At no

time has Mr. Braundmeier believed any agreement between himself and Ancestry exists or existed.

        57.     Mr. Braundmeier hereby expressly repudiates any agreement to arbitrate that

Ancestry may contend exists or existed.

        58.     Mr. Braundmeier instructed his attorneys to pursue a claim against Ancestry in

federal court. Mr. Braundmeier has never authorized, and does not authorize, his attorneys to agree

to arbitration on his behalf.

        59.     Mr. Braundmeier is not aware of any agreements between his attorneys and

Ancestry.

        60.     Mr. Braundmeier is not aware of any accounts on Ancestry.com created by his

attorneys.

        61.     Mr. Braundmeier did not instruct or authorize his attorneys to investigate the

Ancestry.com website. Mr. Braudmeier did not instruct or authorize his attorneys to create an

account on Ancestry.com or agree to a Terms of Service.

        62.     By willingly litigating this action in federal Court for nearly two years, Ancestry

has waived the right to assert Mr. Braundmeier must arbitrate his claim. Mr. Braundmeier is a

member of the putative class on behalf of which Mr. Bonilla filed his initial complaint in this

action on December 14, 2020. Ancestry has litigated this putative class action for nearly two years

without asserting this action should be pursued in an arbitral forum. Over a year ago, on April 9,

2021, Ancestry filed a motion to dismiss Mr. Bonilla’s class claims in which it asserted this Court

lacked personal jurisdiction. That motion failed to mention any purported agreement to arbitrate

between Ancestry and Mr. Bonilla, or between Ancestry and any member of the class, including

Mr. Braundmeier.



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       63.     None of the allegations in this Complaint relating to Ancestry’s use of Mr.

Braundmeier’s photograph are based on any information gathered from Ancestry.com. Instead, Mr.

Braundmeier’s allegations are based on information Ancestry’s counsel provided to Plaintiffs’

counsel. In an e-mail dated July 27, 2022, Ancestry’s counsel confirmed that Mr. Braundmeier’s

photograph became part of Ancestry’s Yearbook Database on August 16, 2021. Ex. 1. Mr.

Braundmeier’s allegations below relating to Ancestry’s use of his photograph to advertise website

subscriptions are based on this admission by Ancestry via its counsel. The allegations do not rely

on any information gathered by Plaintiffs’ counsel from the Ancestry.com website, other than the

screenshots that became part of the public record when Mr. Bonilla filed the initial Complaint on

December 14, 2020.

       64.     Mr. Braundmeier highly values his personal privacy and the ability to control and

prevent the commercial use of his likeness without consent.

       65.       Ancestry uses Mr. Braundmeier’s yearbook photograph as a minor child in

advertisements promoting website subscriptions. Ancestry possesses at least one photograph of

Mr. Braundmeier it uses for this purpose, which it appropriated without his permission from his

yearbook from Gillespie Community High School. See Ex. 1 (communication from Ancestry’s

counsel admitting photographs from Mr. Braundmeier’s yearbook are searchable on

Ancestry.com).

       66.     Ancestry incorporates Mr. Braundmeier’s photograph in advertisements for

website subscriptions in the same way it incorporates Mr. Bonilla’s and Mr. Abraham’s

photographs. See ¶¶37-49 above. This allegation, and the succeeding allegations related to

Ancestry’s use of Mr. Braundmeier’s photograph, are not based on direct observation of the




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Ancestry.com website. Instead, these allegations are based on Plaintiffs’ knowledge that Ancestry

incorporates all yearbook photographs in its database into advertisements in the same way.

         67.   Ancestry provides a publicly accessible webpage on which non-subscribers may

search for Mr. Braundmeier by name and location.

         68.   Non-subscribers who search for Mr. Braundmeier receive in response a list of

yearbook photographs in the Ancestry database that depict Mr. Braundmeier as a child. See ¶45

above.

         69.   Ancestry displays a promotional pop-up to non-subscribers that shows a low-

resolution version of Mr. Braundmeier’s childhood photograph. See ¶45 above. The pop-up

advertises that with a paid subscription, the non-subscriber would gain access to “A [higher

resolution] picture of the original document” showing the subject’s photograph. Id.

         70.   The pop-up also shows the categories of personal information about Mr.

Braundmeier to which the non-subscriber would gain access with a paid subscription. See ¶45

above. The pop-up advertises that with a paid subscription, the non-subscriber would learn the

subject’s “estimated age,” “birth year,” and “school location,” among other information.

         71.   The pop-up prominently displays Mr. Braundmeier’s name. See ¶45 (showing pop-

up titled “NAME: Sergio Bonilla”; the pop-up Ancestry publishes for Mr. Braundmeier displays

his name in the same manner). The pop-up promises that “There’s more to see” about Mr.

Braundmeier and prompts the non-subscriber to “Sign Up Now” to learn more about Mr.

Braundmeier. Id.

         72.   After the non-subscriber clicks “Sign Up Now” on the pop-up, or clicks on any of

the blue hyperlinks on the search result page, see ¶45, Ancestry displays a payment page soliciting

the purchase of a subscription plan at a cost of $99 for six months or $24.99 per month. See ¶48.



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       73.     Mr. Braundmeier’s childhood photograph is part of the database from which

Ancestry populates “hint” emails soliciting paid subscriptions. The appearance and format of a

“hint” email is shown in ¶47 above.

       74.     On information and belief, Ancestry has sent “hint” emails containing Mr.

Braundmeier’s name and childhood photograph.

       75.     As alleged and shown above, Ancestry uses Mr. Braundmeier’s name, childhood

photograph, personal information, and identity in advertisements it displays publicly on the

Internet for the commercial purpose of soliciting subscriptions. Ancestry also uses Mr.

Braundmeier’s name and identity in promotional “hint” emails for the commercial purpose of

soliciting subscriptions.

       76.     Mr. Braundmeier does not know how Ancestry obtained his photograph. It appears

to have been misappropriated from his high school yearbook.

       77.     On information and belief, Ancestry received no indication, and had no reasonable

belief, that the people who created Mr. Braundmeier’s yearbook intended the yearbook to be

published on the Internet or used to promote website subscriptions.

       78.     On information and belief, Ancestry did not obtain permission from the yearbook’s

authors, the photographer who took Mr. Braundmeier’s photograph, or the yearbook’s copyright

holder prior to incorporating Mr. Braundmeier’s photograph and other photographs from the

yearbook in advertisements. Ancestry does not own the copyright in Mr. Braundmeier’s yearbook

or his photograph.

       79.     Mr. Braundmeier has intellectual property and privacy interests in his name,

likeness, and identity recognized by Illinois statutory law. He has the right to exclude anyone from

making commercial use of his identity without his consent.



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       80.     Ancestry has injured Mr. Braundmeier by profiting from its use of his name and

identity without compensating him; by misappropriating and infringing his intellectual property

rights without compensation; by violating his statutorily protected right to control the commercial

use of his name and likeness; and by disturbing his peace of mind.

       81.     Mr. Braundmeier is indignant and disgusted by Ancestry’s violation of his privacy

and intellectual property while profiting from the illegal use of his photos as a minor. Mr.

Braundmeier is deeply disturbed by Ancestry’s use of his name and photograph without his

consent. He believes his identity is rightly his to control. Ancestry’s illegal use has left him worried

about his inability to control how his name and identity is used. Mr. Braundmeier feels that

Classmates’ use of his photograph and personal information represents an alarming invasion of his

privacy and intellectual property, and renders him vulnerable to identity theft.

Plaintiff Kevin Wallace

       82.     Plaintiff Kevin Wallace is a resident of Normal, Illinois. Mr. Wallace is not a

subscriber of any Ancestry products or services. Mr. Wallace is not subject to any Terms of Service

or other agreement with Ancestry. After Plaintiffs’ counsel shared Mr. Wallace’s name and email

addresses with Ancestry’s counsel, Ancestry’s counsel confirmed that Ancestry was “unable to

locate any accounts registered under [his] name[].” Ex. 1.

       83.     Mr. Wallace has never provided consent to Ancestry, written or otherwise, for its

use of his name, photograph, and identity.

       84.     Ancestry has never notified, requested consent from, or provided compensation to

Mr. Wallace for its appropriation of his name, photograph, and identity.

       85.     There is no agreement to arbitrate between Mr. Wallace and Ancestry. At no time

has Mr. Wallace believed any agreement between himself and Ancestry exists or existed.



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       86.     Mr. Wallace hereby expressly repudiates any agreement to arbitrate that Ancestry

may contend exists or existed.

       87.     Mr. Wallace instructed his attorneys to pursue a claim against Ancestry in federal

court. Mr. Wallace has never authorized, and does not authorize, his attorneys to agree to

arbitration on his behalf.

       88.     Mr. Wallace is not aware of any agreements between his attorneys and Ancestry.

       89.     Mr. Wallace is not aware of any accounts on Ancestry.com created by his attorneys.

       90.     Mr. Wallace did not instruct or authorize his attorneys to investigate the

Ancestry.com website. Mr. Wallace did not instruct or authorize his attorneys to create an account

on Ancestry.com or agree to a Terms of Service.

       91.     By willingly litigating this action in federal Court for nearly two years, Ancestry

has waived the right to assert Mr. Wallace must arbitrate his claim. Mr. Wallace is a member of

the putative class on behalf of which Mr. Bonilla filed his initial complaint in this action on

December 14, 2020. Ancestry has litigated this putative class action for nearly two years without

asserting this action should be pursued in an arbitral forum. Over a year ago, on April 9, 2021,

Ancestry filed a motion to dismiss Mr. Bonilla’s class claims in which it asserted this Court lacked

personal jurisdiction. That motion failed to mention any purported agreement to arbitrate between

Ancestry and Mr. Bonilla, or between Ancestry and any member of the class, including Mr.

Wallace.

       92.     None of the allegations in this Complaint relating to Ancestry’s use of Mr.

Wallace’s photograph are based on any information gathered from Ancestry.com. Instead, Mr.

Wallace’s allegations are based on information Ancestry’s counsel provided to Plaintiffs’ counsel.

In an e-mail dated July 27, 2022, Ancestry’s counsel confirmed that Mr. Wallace’s photograph



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became part of Ancestry’s Yearbook Database on August 16, 2021. Ex. 1. Mr. Wallace’s

allegations below relating to Ancestry’s use of his photograph to advertise website subscriptions

are based on this admission by Ancestry via its counsel. The allegations do not rely on any

information gathered by Plaintiffs’ counsel from the Ancestry.com website, other than the

screenshots that became part of the public record when Mr. Bonilla filed the initial Complaint on

December 14, 2020.

       93.    Mr. Wallace highly values his personal privacy and the ability to control and

prevent the commercial use of his likeness without consent.

       94.     Ancestry uses Mr. Wallace’s yearbook photograph as a minor child in

advertisements promoting website subscriptions. Ancestry possesses at least one photograph of

Mr. Wallace it uses for this purpose, which it appropriated without his permission from his

yearbook from Gillespie Community High School. See Ex. 1 (communication from Ancestry’s

counsel admitting photographs from Mr. Wallace’s yearbook are searchable on Ancestry.com).

       95.    Ancestry incorporates Mr. Wallace’s photograph in advertisements for website

subscriptions in the same way it incorporates Mr. Bonilla’s and Mr. Abraham’s photographs. See

¶¶37-49 above. This allegation, and the succeeding allegations related to Ancestry’s use of Mr.

Wallace’s photograph, are not based on direct observation of the Ancestry.com website. Instead,

these allegations are based on Plaintiffs’ knowledge that Ancestry incorporates all yearbook

photographs in its database into advertisements in the same way.

       96.    Ancestry provides a publicly accessible webpage on which non-subscribers may

search for Mr. Wallace by name and location.

       97.    Non-subscribers who search for Mr. Wallace receive in response a list of yearbook

photographs in the Ancestry database that depict Mr. Wallace as a child. See ¶45 above.



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       98.     Ancestry displays a promotional pop-up to non-subscribers that shows a low-

resolution version of Mr. Wallace’s childhood photograph. See ¶45 above. The pop-up advertises

that with a paid subscription, the non-subscriber would gain access to “A [higher resolution]

picture of the original document” showing the subject’s photograph. Id.

       99.     The pop-up also shows the categories of personal information about Mr. Wallace

to which the non-subscriber would gain access with a paid subscription. See ¶45 above. The pop-

up advertises that with a paid subscription, the non-subscriber would learn the subject’s “estimated

age,” “birth year,” and “school location,” among other information.

       100.    The pop-up prominently displays Mr. Wallace’s name. See ¶45 (showing pop-up

titled “NAME: Sergio Bonilla”; the pop-up Ancestry publishes for Mr. Wallace displays his name

in the same manner). The pop-up promises that “There’s more to see” about Mr. Wallace and

prompts the non-subscriber to “Sign Up Now” to learn more about Mr. Wallace. Id.

       101.    After the non-subscriber clicks “Sign Up Now” on the pop-up, or clicks on any of

the blue hyperlinks on the search result page, see ¶45, Ancestry displays a payment page soliciting

the purchase of a subscription plan at a cost of $99 for six months or $24.99 per month. See ¶48.

       102.    Mr. Wallace’s childhood photograph is part of the database from which Ancestry

populates “hint” emails soliciting paid subscriptions. The appearance and format of a “hint” email

is shown in ¶47 above.

       103.    On information and belief, Ancestry has sent “hint” emails containing Mr.

Wallace’s name and childhood photograph.

       104.    As alleged and shown above, Ancestry uses Mr. Wallace’s name, childhood

photograph, personal information, and identity in advertisements it displays publicly on the

Internet for the commercial purpose of soliciting subscriptions. Ancestry also uses Mr. Wallace’s



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name and identity in promotional “hint” emails for the commercial purpose of soliciting

subscriptions.

       105.      Mr. Wallace does not know how Ancestry obtained his photograph. It appears to

have been misappropriated from his high school yearbook.

       106.      On information and belief, Ancestry received no indication, and had no reasonable

belief, that the people who created Mr. Wallace’s yearbook intended the yearbook to be published

on the Internet or used to promote website subscriptions.

       107.      On information and belief, Ancestry did not obtain permission from the yearbook’s

authors, the photographer who took Mr. Wallace’s photograph, or the yearbook’s copyright holder

prior to incorporating Mr. Wallace’s photograph and other photographs from the yearbook in

advertisements. Ancestry does not own the copyright in Mr. Wallace’s yearbook or his photograph.

       108.      Mr. Wallace has intellectual property and privacy interests in his name, likeness,

and identity recognized by Illinois statutory law. He has the right to exclude anyone from making

commercial use of his identity without his consent.

       109.      Ancestry has injured Mr. Wallace by profiting from its use of his name and identity

without compensating him; by misappropriating and infringing his intellectual property rights

without compensation; by violating his statutorily protected right to control the commercial use of

his name and likeness; and by disturbing his peace of mind.

       110.      Mr. Wallace is indignant and disgusted by Ancestry’s violation of his privacy and

intellectual property while profiting from the illegal use of his photos as a minor. Mr. Wallace is

deeply disturbed by Ancestry’s use of his name and photograph without his consent. He believes

his identity is rightly his to control. Ancestry’s illegal use has left him worried about his inability

to control how his name and identity is used. Mr. Wallace feels that Classmates’ use of his



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photograph and personal information represents an alarming invasion of his privacy and

intellectual property, and renders him vulnerable to identity theft.

                             STATEMENT OF COMMON FACTS

       111.    Ancestry’s business model is based on gathering personal information from various

sources, then selling access to that information for a monthly subscription fee. Ancestry uses the

personal information it has amassed to advertise, sell, and solicit the purchase of its subscription

products and services. Sources from which Ancestry.com collects personal information include

school yearbooks, birth records, marriage records, death records, U.S. census records, immigration

records, military records, and photographs of grave sites.

       112.    As part of this business model, Ancestry amassed and continues to grow its

“Ancestry Yearbook Database”, which contains names, yearbook photos, estimated ages, schools

attended, and additional personal information extracted from school yearbooks. Ancestry

aggregates the extracted information into digital records associated with specific individuals. The

Ancestry Yearbook Database comprises about 730 million individual records collected from “more

than 450,000 yearbooks and more than 62 million pages.” Of those 730 million records, about 47

million are marked in the database as corresponding to students in Illinois schools.

       113.    Each record in the Ancestry Yearbook Database includes at least the following

information: the name of a specific individual; a photograph depicting that individual; the name of

the school the individual attended; the year in which the yearbook was printed; and the city in

which that individual lived. Some records contain additional personal information, including the

individual’s estimated age at the time of the photograph, estimated year of birth, and hobbies and

interests while in school.




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       114.    Ancestry did not and does not seek consent from, give notice to, or provide

compensation to Plaintiffs and the class before placing their personal information in its Ancestry

Yearbook Database, selling that information as part of its subscription products, and using that

information to sell, advertise, and solicit the purchase of its subscription products.

       115.    Upon information and belief, Ancestry does not take any steps to determine whether

the authors of the yearbooks that are the source of raw material in its Yearbook Database intended

their content for publication online. Many of the yearbooks were published well before the Internet

was widely used.

       116.    Upon information and belief, Ancestry does not take any steps to acquire copyright

in the yearbooks that are the source of raw material in its Yearbook Database.

       117.    Ancestry makes no attempt to contact or gain the consent of any of the people

whose names, photographs, likenesses, biographical information, and identities appear in a

donated yearbook. Ancestry is apparently alert to the risks its business model runs under copyright

law, but it does not even attempt to meet its obligations under the Illinois right to publicity.

Ancestry asks yearbook donors to sign a disclaimer that the donated yearbook is either “not bound

by copyright restrictions” or “the copyright is held by the donor.” But Ancestry does not require

or even suggest the donor should ask the consent of the people who appear in the yearbook to have

their names, photographs, and images added to the Ancestry Yearbook Database.

       118.    Each record in the Ancestry Yearbook Database uniquely identifies an individual

human being. Indeed, the fact these records uniquely identify specific individuals is the primary

selling point Ancestry uses to attract new subscribers. In its online promotional materials, Ancestry

touts that subscribers will gain access to the records in its Ancestry Yearbook Database, each of

which “Pinpoints an individual in a particular time and place” by joining information about the



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person including name, “school or town,” time, “a photo,” “interests and hobbies,” and “family

linkages” because siblings may appear in the same yearbook.

       119.    Ancestry has and continues to use the identities of Plaintiffs and the class, including

their names, photographs, images, and likenesses, for a commercial purpose by selling access to

their identities in its products, including its “U.S. Discovery,” “World Explorer,” and “All Access”

paid subscription plans. Subscribers who pay monthly subscriptions fees of between $24.99 and

$49.99 per month, depending on the plan, receive in exchange the ability to search for, view, and

download records in Ancestry’s Yearbook Database. Paying subscribers may view and download

records containing the names, photographs, and likenesses of Plaintiffs and the class.

       120.    Ancestry has and continues to use the identities of Plaintiffs and the class, including

their names, photographs, images, and likenesses, for the commercial purpose of advertising and

promoting its subscription services and products, including its “U.S. Discovery,” “World Explorer,”

and “All Access” paid subscription plans, by using the identities of Plaintiffs and the class in its

14-day promotional “free trial.” Users of the promotional “free trial” may search for, download,

and view records in Ancestry’s Yearbook Database. “Free trial” users receive access to the same

records that are available to paying users. Ancestry’s sole purpose in using the names, photographs,

images, and likenesses of Plaintiffs and the class in the promotional “free trial” version of its

website is to advertise and promote its paid subscription plans.

       121.    Ancestry has and continues to use the identities of Plaintiffs and the class, including

their names, photographs, images, and likenesses, for the commercial purpose of advertising and

promoting its subscription services and products, including its “U.S. Discovery,” “World Explorer,”

and “All Access” paid subscription plans, by using the identities of Plaintiffs and the class in the

promotional limited-access version of its website. Any visitor to the Ancestry website may access



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the promotional limited-access version, even if they have not provided contact information or

signed up for the promotional “free trial.” Users of the promotional limited-access version of the

website may search for records in Ancestry’s Yearbook and may view a limited portion of the

information in those records, including the name, city of residence, and a low-resolution version

of the photograph corresponding to each record. Users of the promotional limited-access version

of the Ancestry website receive access to a limited version of same records that are available to

paying users.

       122.     Ancestry’s sole purpose in using the names, photographs, images, and likenesses

of Plaintiffs and the class in the promotional limited-access version of its website is to advertise

and promote its paid subscription plans. Users may access limited versions of the records Ancestry

has amassed corresponding to Plaintiffs and the class. The limited-version records include a name,

city of residence, and a low-resolution version of a photograph portraying the class member. Users

who hover over the “View Record” link corresponding to each record receive a promotional pop-

up advertisement from Ancestry displaying the class member’s name, a low-resolution version of

the photograph, and a message indicating “There’s more to see” and promising the user access to

the class member’s estimated age, birth year, school, yearbook date, school location, and a full-

resolution of the class member’s photograph if they “Sign Up Now” for a paid subscription.

       123.     Ancestry derives measurable economic value from its use of yearbook records in

on-site messages designed to convert visitors into paying subscribers. In public statements to

investors, Ancestry has recognized that its ability to attract and retain subscribers depends on

amassing the largest possible database of photographs and other personal information with which

to populate on-site messages. “In order to retain and expand our subscriber base. . . we must

continue to expend significant resources to acquire significant amounts of additional historical



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content, digitize it and make it available to our subscribers online. . . Our inability to offer certain

vital records or other valuable content as part of our family history research databases. . . could

have a material adverse impact on our number of subscribers.”8

        124.   That Ancestry derives and ascribes measurable economic value to Plaintiffs’ and

class members’ yearbook photographs is further demonstrated by the fact that Ancestry pays

licensing and other fees to PeopleConnect, Inc., in exchange for digitized copies of the photographs

and the purported right to make commercial use of those photographs.

        125.   Ancestry has and continues to knowingly use the names, biographical information,

and likenesses of Plaintiffs and the class in promotional “hint” emails it sends to users who have

signed up for a free account with Ancestry but have not yet become paying users. The “hint” emails

contain links to yearbook records of people Ancestry believes the recipient may be related to. The

“hint” emails display the full name and estimated birth year of the individual. Clicking on either

the individual’s name or on the button labelled “See your hint” brings the recipient directly to a

web page soliciting a six-month subscription to Ancestry.com for $99.00.

        126.   Ancestry derives measurable economic value from its use of “hint” emails

containing class members’ names and likenesses. In public statements to investors, Ancestry has

specifically recognized the value “hint” emails play in converting non-paying users to registered

subscribers. “Our conversion marketing efforts are focused on converting registered users to

paying subscribers through on-site messaging, email, targeted offers and compelling product




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 Available at https://www.sec.gov/Archives/edgar/data/1575319/000157531916000041/
acom2016063010-q.htm#s77FC53301E940CD0A1BDD6FC46C1ABAC.
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features like record hinting.” Form 10-Q filed June 30, 2016 by Ancestry.com LLC (emphasis

added).9

          127.    The vast majority of people whose personal information Ancestry has amassed in

its Ancestry Yearbook Database have no business relationship with Ancestry, are not Ancestry

subscribers, and are not subject to a Terms of Service or any other agreement with Ancestry.

          128.    Illinois residents have a property interest in their likenesses recognized by Illinois

statutory law. They have the “right to control and to choose whether how to use [their] identity for

commercial purposes.” 765 ILCS 1075/10. The right is not limited to celebrities, nor is it restricted

to those who have developed the commercial value of their likenesses. By using class members’

likenesses for profit without their permission, Ancestry violated their property interest and denied

them the right to control guaranteed under Illinois law. The violation of these property rights is a

recognized form of injury.

          129.    By using class members’ likenesses for profit without their permission, Ancestry

created a right for each class member in the unjust profit Ancestry has earned from their likeness.

Illinois statutory law recognizes an individual’s right to “profits derived from the unauthorized

use.” 765 ILCS 1075/40. By using class members’ likenesses for profit without their permission,

Ancestry created a right for each class member in the “profits [Ancestry has] derived” from its use

of their likeness.

          130.    Ancestry has also injured the class by violating their privacy and intellectual

property rights protected by statute and common law. The violation of such a right is itself injury,




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    Supra n. 1.
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and creates in the class members an entitlement to injunctive relief, nominal damages, and

statutory damages.

       131.    Ancestry’s misappropriation of identities, including names, photographs, images,

likenesses, and other personal information, and commercial use of those identities in selling and

advertising its products and services, violate Illinois’ statute protecting the right to publicity, 765

ILCS 1075/1 et seq., and Illinois common law protecting against unjust enrichment.

                                     CLASS ALLEGATIONS

       132.    Plaintiffs bring this complaint on behalf of themselves and a class of all Illinois

residents who (a) are not currently subscribers of any Ancestry services, (b) have never donated a

yearbook to Ancestry, and (c) whose names, photographs, and/or likenesses were extracted from

yearbooks by Ancestry and placed on the Ancestry website as part of its Yearbook Database,

without Ancestry obtaining their consent. Excluded from the class are (a) Plaintiffs’ counsel; (b)

Ancestry, its officers and directors, counsel, successors and assigns; (c) any entity in which

Ancestry has a controlling interest; and (d) the judge to whom this case is assigned and the judge’s

immediate family.

       133.    The members of the proposed class are so numerous that joinder of individual

claims is impracticable. As of September 2020, Ancestry represents that its Ancestry Yearbook

Database contains 730 million records. Of those, 47 million records correspond to schools in

Illinois. Even accounting for the fact that some individuals have multiple records present in the

database, that some are deceased or no longer reside in Illinois, and that the class excludes current

Ancestry subscribers (Ancestry represents it has 3 million subscribers worldwide), the class

numbers in the millions.




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       134.   There are significant questions of fact and law common to the members of the class.

These issues include:

           a. Whether Ancestry’s collection of personal information about Plaintiffs and the

              class members, including names, yearbook photographs, yearbook years,

              estimated ages, cities of residence, schools attended, and interest and hobbies, in

              its Ancestry Yearbook Database, and selling of that information via paid

              subscription plans, constitute the use of individuals’ identities for commercial

              purposes without previous written consent within the meaning of 765 ILCS

              1075/1 et seq.;

           b. Whether Ancestry’s use of personal information about Plaintiffs and the class

              members, including names, yearbook photographs, yearbook years, estimated

              ages, cities of residence, schools attended, and interests and hobbies, by offering

              access to that information as part of its promotional 14-day “free trial” constitutes

              the use of individuals’ identities for commercial purposes without previous

              written consent within the meaning of 765 ILCS 1075/1 et seq.;

           c. Whether Ancestry’s use of personal information about Plaintiffs and the class

              members, including names, yearbook photographs, and cities of residence, by

              offering access to that information as part of the promotional limited-access

              version of its website constitutes the use of individuals’ identities for commercial

              purposes without previous written consent within the meaning of 765 ILCS

              1075/1 et seq.;

           d. Whether Ancestry’s use of personal information about Plaintiffs and the class

              members, including names biographical information, by including that



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               information in “hint” email messages to potential subscribers constitutes the use

               of individuals’ identities for commercial purposes without previous written

               consent within the meaning of 765 ILCS 1075/1 et seq.;

           e. Whether Plaintiffs and the class consented to the use of their identities, names,

               photographs, images, and likenesses in Ancestry products and advertisements;

           f. Whether Ancestry’s use of personal information about Plaintiffs and the class

               without consent was “willful” such that Plaintiffs and the class may be entitled to

               punitive damages;

           g. Whether Ancestry’s use of identities, names, photographs, images, and likenesses

               constitutes a use for non-commercial purposes such as news or public affairs

               within the meaning of 765 ILCS 1075/35;

           h. Whether Ancestry was unjustly enriched as a result of the conduct described in

               this complaint; and

           i. Whether class members are entitled to injunctive, declaratory and monetary relief

               as a result of Ancestry’s conduct as described in this complaint.

       135.    Plaintiffs’ claims are typical of those of the proposed class. Plaintiffs and all

members of the proposed class have been harmed by Ancestry’s misappropriation and misuse of

their identifies, names, photographs, images, likenesses, and other personal information.

       136.    The proposed class representatives will fairly and adequately represent the

proposed class. The class representatives’ claims are co-extensive with those of the rest of the class,

and they are represented by qualified counsel experienced in class action litigation of this nature.

       137.    A class action is superior to other available methods for the fair and efficient

adjudication of these claims because individual joinder of the claims of all members of the



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proposed class is impracticable. Many members of the class do not have the financial resources

necessary to pursue this claim, and even if they did, the size of their interest in the case may not

be large enough to merit the cost of pursuing the case. Individual litigation of these claims would

be unduly burdensome on the courts in which individualized cases would proceed. Individual

litigation would greatly increase the time and expense needed to resolve a dispute concerning

Ancestry’s common actions towards an entire group. Class action procedures allow for the benefits

of unitary adjudication, economy of scale, and comprehensive supervision of the controversy by a

single court.

       138.     The proposed class action may be certified pursuant to Rule 23(b)(2) of the Federal

Rules of Civil Procedure. Ancestry has acted on grounds generally applicable to the proposed class,

such that final injunctive and declaratory relief is appropriate with respect to the class as a whole.

       139.     The proposed class action may be certified pursuant to Rule 23(b)(3). Questions of

law and fact common to class members predominate over questions affecting individual members,

and a class action is superior to other available methods for fairly and efficiency adjudicating the

controversy.

                                  FIRST CAUSE OF ACTION
                                    (765 ILCS 1075/1 et seq.)

       140.     Plaintiffs incorporate by reference the allegations contained in all preceding

paragraphs of this complaint.

       141.     Illinois’ statute protecting the right to publicity 765 ILCS 1075/1 et seq., prohibits

and provides damages for using an individual’s identity for commercial purposes without having

obtained previous written consent.

       142.     By engaging in the forgoing acts and omissions, Ancestry used Plaintiffs’ and class

members’ identities for commercial purposes without having obtained previous written consent.

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        143.    Each use of a class member’s identity is a separate and distinct violation of 765

ILCS 1075/1 et seq. giving rise to damages.

        144.    Plaintiffs seek nominal damages, declaratory relief, injunctive relief, and monetary

damages for themselves and on behalf of each member of the proposed class as provided for in

765 ILCS 1075/1 et seq., including nominal damages equal to $1 per class member, statutory

damages equal to the greater of $1000 per violation, actual damages, or profits Ancestry derived

from its unauthorized use; punitive damages in light of Defendants’ willful violation; and the

award of attorneys’ fees and costs in the event Plaintiffs prevails in this action.

                                  SECOND CAUSE OF ACTION
                                      (Unjust Enrichment)

        145.    Plaintiffs incorporate by reference the allegations contained in all preceding

paragraphs of this complaint.

        146.    Plaintiffs and members of the class have conferred an unwarranted benefit on

Ancestry. Ancestry’s business model centers around selling subscriptions for access to personal

information that rightfully belongs to Plaintiffs and members of the class. Ancestry uses the

personal information it misappropriated to sell its services without consent. Each subscription sold

and each advertisement sent represents an unwarranted benefit conferred by the class.

        147.    Under principles of equity and good conscience, Ancestry should not be permitted

to retain the benefits it gained as a result of its actions.

        148.    Plaintiffs and members of the class have suffered loss as a direct result of

Ancestry’s conduct.

        149.    Among other remedies, Plaintiffs, on their own behalf and on behalf of absent class

members, seeks the imposition of a constructive trust and restitution of proceeds Ancestry received




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as a result of the conduct described in this complaint, as well as an award of attorneys’ fees, costs,

and interest.

                                     PRAYER FOR RELIEF

       150.     WHEREFORE Plaintiffs, on behalf of themselves and all others similarly situation,

hereby demands judgment against Defendant Ancestry as follows:

           (a) For an order certifying the proposed class and appointing Plaintiffs and their

                counsel to represent the class;

           (b) For a declaration that Ancestry’s acts and omissions constitute a knowing

                misappropriation of names, likeness, photographs, and other personal information,

                and infringe on protected privacy rights, in violation of Illinois law;

           (c) For nominal damages awarded in recognition of Ancestry’s violation of the

                statutory protected property and privacy rights of Plaintiffs and the class;

           (d) For preliminary and permanent injunctive relief enjoining and preventing

                Ancestry from continuing to operate its Ancestry website and expand its databases

                without appropriate safeguards to ensure people’s personal information is not

                used illegally without their consent;

           (e) For an order enjoining Ancestry from continuing the unlawful and unfair conduct

                described in this complaint;

           (f) For restitution for Plaintiffs and members the class for the value that Defendant

                derived from misappropriating their likenesses;

           (g) For an award of damages, including without limitation damages for actual harm,

                profits earned by Ancestry in the operation of its websites selling access to

                misappropriated personal information, and statutory damages;



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          (h) For an award of reasonable attorneys’ fees and costs incurred by Plaintiffs and the

              class members; and

          (i) For an award of other relief in law and equity to which Plaintiffs and the class

              members may be entitled.


                                   JURY TRIAL DEMAND
       Plaintiffs hereby demands a jury trial for all individual and Class claims so triable.

Respectfully submitted,

Dated: August 24, 2022                             By: /s/ Samuel J. Strauss
                                                   Samuel J. Strauss
                                                   Email: sam@turkestrauss.com
                                                   Raina Borelli
                                                   Email: raina@turkestrauss.com
                                                   613 Williamson St., Suite 201
                                                   Madison, Wisconsin 53703
                                                   Telephone: (608) 237-1775
                                                   Facsimile: (608) 509-4423

                                                   Benjamin R. Osborn (Pro Hac)
                                                   102 Bergen St. Brooklyn, NY 11201
                                                   Telephone: (347) 645-0464
                                                   ben@benosbornlaw.com

                                                   Michael F. Ram (Pro Hac)
                                                   mram@forthepeople.com
                                                   Marie N. Appel (Pro Hac)
                                                   mappel@forthepeople.com
                                                   MORGAN & MORGAN COMPLEX
                                                   LITIGATION GROUP
                                                   711 Van Ness Avenue, Suite 500
                                                   San Francisco, CA 94102
                                                   Telephone: (415) 358-6913
                                                   Facsimile: (415) 358-6923

                                                   Attorneys for Plaintiffs and the proposed
                                                   class




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                                CERTIFICATE OF SERVICE

       I, Samuel J. Strauss, hereby certify that I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to counsel of

record via the ECF system.

       DATED this 24th day of August, 2022.

                                         TURKE & STRAUSS LLP

                                         By:     /s/ Samuel J. Strauss
                                               Samuel J. Strauss
                                               Email: sam@turkestrauss.com
                                               TURKE & STRAUSS LLP
                                               613 Williamson St., Suite 201
                                               Madison, WI 53703
                                               Telephone: (608) 237-1775
                                               Facsimile: (608) 509-4423




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